Case 10-95385-crm          Doc 67      Filed 02/28/14 Entered 02/28/14 09:34:55                 Desc Main
                                      Document      Page 1 of 23



                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

In re:
                                                           CHAPTER 13
NANCY AUSTIN
    Debtor.                                                CASE NO. 10-95385-crm


                              NOTICE OF ASSIGNMENT OF HEARING

       PLEASE TAKE NOTICE that CITIMORTGAGE, INC. has filed a motion for relief and related
papers with the Court.

        PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the motion for relief
from the automatic stay at Court Address at 75 Spring Street, SW, Courtroom 1203, Atlanta, GA 30303 at
09:30 AM on March 25, 2014.

        Your rights may be affected by the court's ruling on these pleadings. You should read these
pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy case. (If you
do not have an attorney, you may wish to consult one.) If you do not want the court to grant the relief
sought in these pleadings or if you want the court to consider your views, then you or your attorney must
attend the hearing. You may also file a written response to the pleadings with the Clerk at the address:
Suite 1340, 75 Spring Street, Atlanta, GA 30303, but you are not required to do so. If you file a written
response, you must attach a certificate stating when, how and on whom (including addresses) you served
the response. Mail or deliver your response so that it is received by the Clerk at least two business days
before the hearing. You must also mail a copy of your response to the undersigned at the address stated
below.

        If a hearing on the motion for relief cannot be held within thirty (30) days, Movant waives the
requirement for holding a preliminary hearing within thirty days of filing the motion and agrees to a
hearing on the earliest possible date. If a final decision is not rendered by the Court within sixty (60) days
of the date of the request, Movant waives the requirement that a final decision be issued within that
period. Movant consents to the automatic stay remaining in effect until the Court orders otherwise.

Dated: February 28, 2014

                                         /s/S. Andrew Shuping, Jr.
                                         S. Andrew Shuping, Jr.
                                         Counsel for Movant
                                         6259 Riverdale Road, Suite 100
                                         Riverdale, GA 30274
                                         770-991-0000
Case 10-95385-crm          Doc 67      Filed 02/28/14 Entered 02/28/14 09:34:55                 Desc Main
                                      Document      Page 2 of 23



                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

In re:
                                                           CHAPTER 13
NANCY AUSTIN
    Debtor.                                                CASE NO. 10-95385-crm


                         MOTION FOR RELIEF FROM AUTOMATIC STAY
                                    (REAL PROPERTY)

         CITIMORTGAGE, INC. ("Movant") hereby moves this Court, pursuant to 11 U.S.C. § 362, for

relief from the automatic stay with respect to certain real property of the Debtor having an address of

4579 GLENFOREST DRIVE NE, ROSWELL, GA 30075 (the "Property"), for all purposes allowed by

law, the Note (defined below), the Security Deed (defined below), applicable law, including but not

limited to the right to foreclose. In further support of this Motion, Movant respectfully states:

    1. A petition under Chapter 13 of the United States Bankruptcy Code was filed with respect

         to the Debtor on November 29, 2010.

    2. The Chapter 13 Plan was confirmed on July 22, 2011.

    3. The Debtor has executed and delivered or is otherwise obligated with respect to that

         certain promissory note in the original principal amount of $195,895.00 (the "Note"). A

         copy of the Note is attached hereto as Exhibit A. Movant is an entity entitled to enforce

         the Note.

    4. Pursuant to that certain Security Deed (the "Security Deed"), all obligations (collectively,

         the "Obligations") of the Debtor under and with respect to the Note and the Security

         Deed are secured by the Property. A copy of the Security Deed is attached hereto as

         Exhibit B.
Case 10-95385-crm      Doc 67     Filed 02/28/14 Entered 02/28/14 09:34:55             Desc Main
                                 Document      Page 3 of 23



   5. All rights and remedies under the Security Deed have been assigned to the Movant

      pursuant to that certain assignment of Security Deed, a copy of which is attached hereto

      as Exhibit C.

   6. CitiMortgage, Inc. services the loan on the Property referenced in this Motion for Relief.

      In the event the automatic stay in this case is modified, this case dismisses, and/or the

      Debtor obtains a discharge and a foreclosure action is commenced on the mortgaged

      property, the foreclosure will be conducted in the name of CitiMortgage, Inc.

      “Noteholder”. Noteholder directly or through an agent, has possession of the Promissory

      Note. The Promissory Note is either payable to Noteholder or has been duly endorsed.

      Noteholder is the original mortgagee or beneficiary or the assignee of the security

      instrument for the referenced loan.

   7. The legal description of the Property and recording information is set forth in the Security

      Deed, a copy of which is attached hereto, and such description and information is

      incorporated and made a part hereof by reference.

   8. As of February 25, 2014, the outstanding amount of the obligations less any partial

      payments or suspense balance is $187,030.42. This does not include the attorneys` fees

      and expenses incurred in connection with preparing and pursuing this Motion, which fees

      and expenses are set forth in more detail below.

   9. In addition to the other amounts due to Movant reflected in this Motion, as of the date

      hereof, in connection with seeking the relief requested in this Motion, Movant has also

      incurred $826.00 in legal fees and costs. Movant reserves all rights to seek an award or

      allowance of such fees and expenses in accordance with applicable loan documents and

      related agreements, the Bankruptcy Code and otherwise applicable law.
Case 10-95385-crm       Doc 67     Filed 02/28/14 Entered 02/28/14 09:34:55               Desc Main
                                  Document      Page 4 of 23



    10. The following chart sets forth the number and amount of post petition payments due

       pursuant to the terms of the Note that have been missed by the Debtor as of February 25,

       2014:

Number of Missed       From           To           Monthly        Total Missed Payments
Payments                                           Payment
                                                   Amount
1                      09/01/2013     09/01/2013 $1,435.01        $1,435.01
5                      10/01/2013 02/01/2014 $1,433.64          $7,168.20
         Less postpetition partial payments (suspense balance):     ($52.43)
                                                                                     Total: $8,550.78

    11. The estimated market value of the Property is $189,400.00. The basis for such valuation

       is the fair market value as reflected on Debtor`s Schedule A.

    12. Cause exists for relief from the automatic stay for the following reasons:

    a) The fair market value of the property is declining and payments are not being made to

       Movant sufficient to protect Movant's interest against the decline.

    b) Pursuant to 11 U.S.C. § 362(d)(2)(A), Debtor has no equity in the Property; and pursuant

       to § 362(d)(2)(B), the Property is not necessary for an effective reorganization.

       WHEREFORE, Movant prays that this Court issue an Order terminating or modifying the

       stay and granting the following:

    1. Relief from the stay for all purposes allowed by law, the Note, the Security Deed, and

       applicable law, including but not limited to allowing Movant (and any successors or

       assigns) to proceed under applicable non-bankruptcy law to enforce its remedies to

       foreclose upon and obtain possession of the Property.

    2. That the Order be binding and effective despite any conversion of this bankruptcy case to

       a case under any other chapter of Title 11 of the United States Code.

    3. That the 14-day stay described by Bankruptcy Rule 4001(a)(3) be waived.
Case 10-95385-crm        Doc 67     Filed 02/28/14 Entered 02/28/14 09:34:55            Desc Main
                                   Document      Page 5 of 23



   4. For such other relief as the Court deems proper.

        Movant further requests that upon entry of an order granting relief from stay, it be

exempted from further compliance with Fed. Rule Bankr. P. 3002.1 in the instant bankruptcy

case.



                                             Respectfully submitted,

                                             BY: /s/ S. Andrew Shuping, Jr.
                                             S. Andrew Shuping, Jr.
                                             Attorney for Movant
                                             State Bar No. 644475
SHUPING, MORSE & ROSS, L.L.P.
6259 Riverdale Road
Riverdale, GA 30274
770-991-0000
Case 10-95385-crm       Doc 67     Filed 02/28/14 Entered 02/28/14 09:34:55            Desc Main
                                  Document      Page 6 of 23



                           UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

In re:
                                                      CHAPTER 13
NANCY AUSTIN
         Debtor.                                      CASE NO. 10-95385-crm



    AFFIDAVIT SUPPORTING MOTION FOR RELIEF FROM AUTOMATIC STAY
           Kentucky
STATE OF ______________ )
                        ) ss.
              Boone
COUNTY OF ____________)

      Before me, the undersigned authority, personally appeared the person identified below,
who being by me duly sworn, deposed as follows:

       1.                     Renae Turner
               My name is _________________________.         I am of sound mind, lawful age and
capable of making this Affidavit. The statements set forth in this Affidavit are true and correct
based on my personal knowledge and review of the business records described herein. I am
authorized to make this Affidavit on behalf of CitiMortgage, Inc..

        2.     This Affidavit is submitted in support of the motion seeking relief from the
automatic stay (the "Motion") by CitiMortgage, Inc., its Successors and/or Assigns ("Movant"),
in the above-captioned case.

        3.      I am employed by CitiMortgage, Inc. as a Vice President-Document Control. In
that capacity, I am familiar with the books of account and have examined all books, records, and
documents kept concerning the transaction alleged in the Motion. All of these books, records,
and documents are kept in the regular course of business and are made at or near the time of
transaction using information transmitted by persons with personal knowledge of the facts. It is
the regular practice to make and keep these books, records and documents. All of these books,
records, and documents are managed by employees or agents whose duty it is to keep the books,
records, and documents accurately and completely.

       4.      My responsibilities include, but are not limited to, handling bankruptcy accounts
and ascertaining amounts due and payable.

       5.      I have personal knowledge of the facts contained in this Affidavit. Specifically, I
have reviewed and have personal knowledge of the records related to the loan account associated
with the certain property described as 4579 GLENFOREST DRIVE NE, ROSWELL, GA 30075.
Case 10-95385-crm            Doc 67      Filed 02/28/14 Entered 02/28/14 09:34:55                       Desc Main
                                        Document      Page 7 of 23




         6.    Movant is the current holder of the Security Deed. A true and correct copy of the
Security Deed is attached hereto as Exhibit B and incorporated herein by reference. A true and
correct copy of the assignment of the Security Deed is attached hereto as Exhibit
B and incorporated herein by reference.

       7.      Movant is the current holder of the note. A true and correct copy of the note is
attached hereto as Exhibit A, and incorporated herein by reference.

        8.    As of February 25, 2014, there are one or more defaults in paying Debtor post-
petition amounts due with respect to the note.

       9.      As of February 25, 2014, the principal balance owed by the Debtor to
CitiMortgage, Inc. is $178,637.08, plus advances made, attorney fees, costs, other fees and
charges, and interest accruing thereon in accordance with the loan documents.

       10.    The following chart sets forth those postpetition payments, due pursuant to the
terms of the Note, that have missed by the Debtor as of February 25, 2014:

Number of From                   To               Missed       Missed      Monthly                   Total
Missed                                            Principal    Escrow (if Payment                    Amounts
Payments                                          and Interest applicable) Amount                    Missed
1                09/01/2013      09/01/2013       $1,174.49        $260.52          $1,435.01        $1,435.01
5                10/01/2013      02/01/2014       $1,174.49        $259. 15         $1,433.64        $7,168.20
Less postpetition partial payments (suspense balance):                   ($52.43)

                                                      Total: $8550.78

       11.     As of February 25, 2014, the total postpetition arrearage/delinquency is
$8,550.78, consisting of (i) the foregoing total of missed postpetition payments in the amount of
$8,550.78, plus (ii) the following postpetition fees [1]:

Description                                                Amount
N/A                                                        N/A




[1] The total of missed postpetition payments for this escrow loan include any missed escrow payments. Such
    missed escrow payments include amounts assessed for taxes and insurance and any previously assessed escrow
    shortage amount (if applicable). To avoid duplication, postpetition advances (if any) made for insurance, real
    estate taxes, or similar charges are not listed separately to the extent such advances would have been paid from
    the missed escrow payments. As part of the next annual RESPA analysis, movant will determine whether the
    escrow payments assessed to the debtor (including the missed escrow payments) result in a projected escrow
    shortage or overage. All rights are hereby reserved to assert or request any escrow amounts in accordance with
    RESPA and the total postpetition arrearage/delinquency is qualified accordingly.
Case 10-95385-crm   Doc 67    Filed 02/28/14 Entered 02/28/14 09:34:55   Desc Main
                             Document      Page 8 of 23
Case 10-95385-crm   Doc 67    Filed 02/28/14 Entered 02/28/14 09:34:55   Desc Main
                             Document      Page 9 of 23
Case 10-95385-crm   Doc 67    Filed 02/28/14 Entered 02/28/14 09:34:55   Desc Main
                             Document     Page 10 of 23
Case 10-95385-crm   Doc 67    Filed 02/28/14 Entered 02/28/14 09:34:55   Desc Main
                             Document     Page 11 of 23
Case 10-95385-crm   Doc 67    Filed 02/28/14 Entered 02/28/14 09:34:55   Desc Main
                             Document     Page 12 of 23
Case 10-95385-crm   Doc 67    Filed 02/28/14 Entered 02/28/14 09:34:55   Desc Main
                             Document     Page 13 of 23
Case 10-95385-crm   Doc 67    Filed 02/28/14 Entered 02/28/14 09:34:55   Desc Main
                             Document     Page 14 of 23
Case 10-95385-crm   Doc 67    Filed 02/28/14 Entered 02/28/14 09:34:55   Desc Main
                             Document     Page 15 of 23
Case 10-95385-crm   Doc 67    Filed 02/28/14 Entered 02/28/14 09:34:55   Desc Main
                             Document     Page 16 of 23
Case 10-95385-crm   Doc 67    Filed 02/28/14 Entered 02/28/14 09:34:55   Desc Main
                             Document     Page 17 of 23
Case 10-95385-crm   Doc 67    Filed 02/28/14 Entered 02/28/14 09:34:55   Desc Main
                             Document     Page 18 of 23
Case 10-95385-crm   Doc 67    Filed 02/28/14 Entered 02/28/14 09:34:55   Desc Main
                             Document     Page 19 of 23
Case 10-95385-crm   Doc 67    Filed 02/28/14 Entered 02/28/14 09:34:55   Desc Main
                             Document     Page 20 of 23
                                           Case 10-95385-crm                               Doc 67                 Filed 02/28/14 Entered 02/28/14 09:34:55                                                                                Desc Main
                                                                                                                 Document     Page 21 of 23
  Debtor Name             Nancy Austin
    Case No                 10-95385
   Account No              XXXX0836
Ledger created on          12/17/2013


                                                          Amount       Amount
                                                                                      Trustee                                                      Late    Other                         Trustee                                          Contractual              Trustee   Out Standing
   Date Recd              Code Legend             Code   Received/   applied from                 Principal     Interest                Escrow                        Debtor Suspense                                         Suspense                Post PDTD
                                                                                     Payments                                                    charges   Fees                         Suspense                                            PDTD                  Check No        PB
                                                         Reversed     Suspense
    11/29/10                 BK Filed                                               POC filed iao $7568.70 with the suspense of $0.00
    01/13/11         Debtor Payment Received       SRP   $1,499.94                                                                                                       $1,499.94        $0.00     $1,499.94      $0.00      $1,499.94               12/1/2010
    01/13/11             Payment applied           PAP                $1,499.94                    $233.90      $940.59             $325.45                                $0.00          $0.00       $0.00        $0.00        $0.00      07/01/10                          $187,883.86
    02/16/11         Debtor Payment Received       SRP   $1,499.94                                                                                                       $1,499.94        $0.00     $1,499.94      $0.00      $1,499.94               1/1/2011
    02/16/11             Payment applied           PAP                $1,499.94                    $235.07      $939.42             $325.45                                $0.00          $0.00       $0.00        $0.00        $0.00      08/01/10                          $187,648.79
    03/16/11         Debtor Payment Received       SRP   $1,499.94                                                                                                       $1,499.94        $0.00     $1,499.94      $0.00      $1,499.94               2/1/2011
    03/16/11             Payment applied           PAP                $1,499.94                    $236.25      $938.24             $325.45                                $0.00          $0.00       $0.00        $0.00        $0.00      09/01/10                          $187,412.54
    04/21/11         Debtor Payment Received       SRP   $1,499.94                                                                                                       $1,499.94        $0.00     $1,499.94      $0.00      $1,499.94               3/1/2011
    04/21/11             Payment applied           PAP                $1,499.94                    $237.43      $937.06             $325.45                                $0.00          $0.00       $0.00        $0.00        $0.00      10/01/10                          $187,175.11
    05/18/11         Debtor Payment Received       SRP   $1,499.94                                                                                                       $1,499.94        $0.00     $1,499.94      $0.00      $1,499.94               4/1/2011
    05/18/11             Payment applied           PAP                $1,499.94                    $238.61      $935.88             $325.45                                $0.00          $0.00       $0.00        $0.00        $0.00      11/01/10                          $186,936.50
    06/22/11         Debtor Payment Received       SRP   $1,499.94                                                                                                       $1,499.94        $0.00     $1,499.94      $0.00      $1,499.94               5/1/2011
    06/22/11             Payment applied           PAP                $1,499.94                    $239.81      $934.68             $325.45                                $0.00          $0.00       $0.00        $0.00        $0.00      12/01/10                          $186,696.69
    07/01/11         Debtor Payment Received       SRT    $12.00                                                                                                          $12.00          $0.00       $12.00       $0.00       $12.00
    07/01/11         46-BIE-BATCH INSP EXP         SRT                 $12.00                                                                              $12.00          $0.00          $0.00        $0.00       $0.00        $0.00
    07/20/11         Debtor Payment Received       SRP   $1,499.94                                                                                                       $1,499.94        $0.00     $1,499.94      $0.00      $1,499.94               6/1/2011
    07/20/11             Payment applied           PAP                $1,499.94                    $241.01      $933.48             $325.45                                $0.00          $0.00       $0.00        $0.00        $0.00      01/01/11                          $186,455.68
    08/05/11        Trustee Payment Received       SRT                               $1,008.79                                                                             $0.00        $1,008.79   $1,008.79      $0.00      $1,008.79                           7407706
    08/05/11         46-BIE-BATCH INSP EXP         SRT                 $57.00                                                                              $57.00          $0.00         $951.79     $951.79       $0.00       $951.79
    08/25/11         Debtor Payment Received       SRP   $1,499.94                                                                                                       $1,499.94       $951.79    $2,451.73      $0.00      $2,451.73               7/1/2011
    08/25/11             Payment applied           PAP                $1,499.94                    $242.21      $932.28             $325.45                                $0.00         $951.79     $951.79       $0.00       $951.79     02/01/11                          $186,213.47
    09/09/11        Trustee Payment Received       SRT                                $78.08                                                                               $0.00        $1,029.87   $1,029.87      $0.00      $1,029.87                           7412935
    09/26/11         Debtor Payment Received       SRP   $1,499.94                                                                                                       $1,499.94      $1,029.87   $2,529.81      $0.00      $2,529.81               8/1/2011
    09/26/11             Payment applied           PAP                $1,499.94                    $243.42      $931.07             $325.45                                $0.00        $1,029.87   $1,029.87      $0.00      $1,029.87    03/01/11                          $185,970.05
    10/07/11        Trustee Payment Received       SRT                                $75.30                                                                               $0.00        $1,105.17   $1,105.17      $0.00      $1,105.17                           7417903
    10/27/11         Debtor Payment Received       SRP   $1,499.94                                                                                                       $1,499.94      $1,105.17   $2,605.11      $0.00      $2,605.11               9/1/2011
    10/27/11             Payment applied           PAP                $1,499.94                    $244.64      $929.85             $325.45                                $0.00        $1,105.17   $1,105.17      $0.00      $1,105.17    04/01/11                          $185,725.41
    11/09/11        Trustee Payment Received       SRT                                $75.30                                                                               $0.00        $1,180.47   $1,180.47      $0.00      $1,180.47                           7422541
    11/29/11         Debtor Payment Received       SRP   $1,499.94                                                                                                       $1,499.94      $1,180.47   $2,680.41      $0.00      $2,680.41               10/1/2011
    11/29/11             Payment applied           PAP                $1,499.94                    $245.86      $928.63             $325.45                                $0.00        $1,180.47   $1,180.47      $0.00      $1,180.47    05/01/11                          $185,479.55
    12/30/11         Debtor Payment Received       SRP   $1,499.94                                                                                                       $1,499.94      $1,180.47   $2,680.41      $0.00      $2,680.41               11/1/2011
    01/03/12        Trustee Payment Received       SRT                                $150.60                                                                            $1,499.94      $1,331.07   $2,831.01      $0.00      $2,831.01                           7432553
    02/02/12         Debtor Payment Received       SRP   $1,499.94                                                                                                       $2,999.88      $1,331.07   $4,330.95      $0.00      $4,330.95
    02/02/12             Payment applied           PAP                $1,499.94                    $247.09      $927.40             $325.45                              $1,499.94      $1,331.07   $2,831.01      $0.00      $2,831.01    06/01/11                          $185,232.46
    02/28/12         46-BIE-BATCH INSP EXP         SRT                  $12.00                                                                             $12.00        $1,499.94      $1,319.07   $2,819.01      $0.00      $2,819.01
    02/28/12        Reverse form Bie-batch insp   FERP                 ($12.00)                                                                            ($12.00)      $1,499.94      $1,331.07   $2,831.01     $12.00      $2,819.01
    02/28/12        Reverse form Bie-batch insp   FERP                 ($12.00)                                                                            ($12.00)      $1,499.94      $1,343.07   $2,843.01     $24.00      $2,819.01
    03/08/12         Debtor Payment Received       SRP   $1,499.94                                                                                                       $2,999.88      $1,343.07   $4,342.95      $0.00      $4,342.95               12/1/2011
    03/08/12             Payment applied           PAP                $1,499.94                    $248.33      $926.16             $325.45                              $1,499.94      $1,343.07   $2,843.01      $0.00      $2,843.01    07/01/11                          $184,984.13
    04/06/12         Debtor Payment Received       SRP   $1,499.94                                                                                                       $2,999.88      $1,343.07   $4,342.95      $0.00      $4,342.95               1/1/2012
    04/06/12             Payment applied           PAP                $1,499.94                    $249.57      $924.92             $325.45                              $1,499.94      $1,343.07   $2,843.01      $0.00      $2,843.01    08/01/11                          $184,734.56
    04/07/12        Trustee Payment Received       SRT                                $36.88                                                                             $1,499.94      $1,379.95   $2,879.89      $0.00      $2,879.89                           7448111
    05/09/12        Trustee Payment Received       SRT                                $75.30                                                                             $1,499.94      $1,455.25   $2,955.19      $0.00      $2,955.19                           7453367
    05/11/12         Debtor Payment Received       SRP   $1,540.37                                                                                                       $3,040.31      $1,455.25   $4,495.56      $0.00      $4,495.56               2/1/2012
    05/11/12             Payment applied           PAP                $1,499.94                    $250.82      $923.67             $325.45                              $1,540.37      $1,455.25   $2,995.62      $0.00      $2,995.62    09/01/11                          $184,483.74
    06/06/12         Debtor Payment Received       SRP   $1,540.37                                                                                                       $3,080.74      $1,455.25   $4,535.99      $0.00      $4,535.99               3/1/2012
    06/06/12             Payment applied           PAP                $1,499.94                    $252.07      $922.42             $325.45                              $1,580.80      $1,455.25   $3,036.05      $0.00      $3,036.05    10/01/11                          $184,231.67
    06/08/12        Trustee Payment Received       SRT                                $75.30                                                                             $1,580.80      $1,530.55   $3,111.35      $0.00      $3,111.35                           7458892
    07/12/12        Trustee Payment Received       SRT                                $350.89                                                                            $1,580.80      $1,881.44   $3,462.24      $0.00      $3,462.24                           7463977
    07/20/12          Rev. from Mis others        SRT                  $12.00                                                                              $12.00        $1,580.80      $1,869.44   $3,450.24      $0.00      $3,450.24
    08/02/12         Debtor Payment Received       SRP   $1,540.37                                                                                                       $3,121.17      $1,869.44   $4,990.61      $0.00      $4,990.61               4/1/2012
    08/02/12             Payment applied           PAP                $1,540.37                    $253.33      $921.16             $365.88                              $1,580.80      $1,869.44   $3,450.24      $0.00      $3,450.24    11/01/11                          $183,978.34
    08/13/12         Debtor Payment Received       SRP   $1,540.37                                                                                                       $3,121.17      $1,869.44   $4,990.61      $0.00      $4,990.61               5/1/2012
    08/14/12             Payment applied           PAP                $1,540.37                    $254.60      $919.89             $365.88                              $1,580.80      $1,869.44   $3,450.24      $0.00      $3,450.24    12/01/11                          $183,723.74
    09/25/12         Debtor Payment Received       SRP   $540.41                                                                                                         $2,121.21      $1,869.44   $3,990.65      $0.00      $3,990.65               6/1/2012
    09/25/12             Payment applied           PAP                $1,540.37                    $255.87      $918.62             $365.88                               $580.84       $1,869.44   $2,450.28      $0.00      $2,450.28    01/01/12                          $183,467.87
    10/09/12        Trustee Payment Received       SRT                                $51.61                                                                              $580.84       $1,921.05   $2,501.89      $0.00      $2,501.89                           7480098
    10/10/12         Debtor Payment Received       SRP   $1,540.37                                                                                                       $2,121.21      $1,921.05   $4,042.26      $0.00      $4,042.26               7/1/2012
    10/10/12             Payment applied           PAP                $1,540.37                    $257.15      $917.34             $365.88                               $580.84       $1,921.05   $2,501.89      $0.00      $2,501.89    02/01/12                          $183,210.72
    11/07/12        Trustee Payment Received       SRP                                $103.89                                                                             $580.84       $2,024.94   $2,605.78      $0.00      $2,605.78                           7485289
    11/12/12         Debtor Payment Received       SRP   $1,540.37                                                                                                       $2,121.21      $2,024.94   $4,146.15      $0.00      $4,146.15               8/1/2012
    11/12/12         Debtor Payment Received       SRP    $540.41                                                                                                        $2,661.62      $2,024.94   $4,686.56   ($1,540.37)   $6,226.93
    11/12/12             Payment applied           PAP                $1,540.37                    $258.44      $916.05             $365.88                              $1,121.25      $2,024.94   $3,146.19      $0.00      $3,146.19    03/01/12                          $182,952.28
    12/10/12        Trustee Payment Received       SRT                                $98.84                                                                             $1,121.25      $2,123.78   $3,245.03      $0.00      $3,245.03                           7490735
    12/17/12         Debtor Payment Received       SRP   $540.41                                                                                                         $1,661.66      $2,123.78   $3,785.44      $0.00      $3,785.44
    12/17/12             Payment applied           PAP                $1,540.37                    $259.73      $914.76             $365.88                               $121.29       $2,123.78   $2,245.07      $0.00      $2,245.07    04/01/12                          $182,692.55
    12/19/12         Debtor Payment Received       SRP   $1,435.01                                                                                                       $1,556.30      $2,123.78   $3,680.08      $0.00      $3,680.08               9/1/2012
    01/03/13         Debtor Payment Received       SR                                                                                                                    $1,556.30      $2,123.78   $3,680.08      $0.00      $3,680.08
    01/09/13        Trustee Payment Received       SRT                                $99.03                                                                             $1,556.30      $2,222.81   $3,779.11      $0.00      $3,779.11                           7495537
    02/05/13         Debtor Payment Received       SRP    $540.41                                                                                                        $2,096.71      $2,222.81   $4,319.52    ($540.41)    $4,859.93               10/1/2012
    02/05/13         Debtor Payment Received       SRP   $1,435.01                                                                                                       $3,531.72      $2,222.81   $5,754.53    ($540.41)    $6,294.94               11/1/2012
    02/06/13             Payment applied           PAP                $1,540.37                    $261.03      $913.46             $365.88                              $1,991.35      $2,222.81   $4,214.16      $0.00      $4,214.16    05/01/12                          $182,431.52
    02/07/13         Debtor Payment Received       SRP   $1,435.01                                                                                                       $3,426.36      $2,222.81   $5,649.17   ($1,435.01)   $7,084.18               12/1/2012
    02/07/13         Debtor Payment Received       SRP    $540.41                                                                                                        $3,966.77      $2,222.81   $6,189.58   ($1,435.01)   $7,624.59
    02/08/13             Payment applied           PAP                $1,540.37                    $262.33      $912.16             $365.88                              $2,426.40      $2,222.81   $4,649.21      $0.00      $4,649.21    06/01/12                          $182,169.19
    02/11/13        Trustee Payment Received       SRT                                $247.94                                                                            $2,426.40      $2,470.75   $4,897.15      $0.00      $4,897.15                           7500821
    02/22/13         Debtor Payment Received       SRP   $540.41                                                                                                         $2,966.81      $2,470.75   $5,437.56      $0.00      $5,437.56               1/1/2013
    02/22/13             Payment applied           PAP                $1,540.37                    $263.64      $910.85             $365.88                              $1,426.44      $2,470.75   $3,897.19      $0.00      $3,897.19    07/01/12                          $181,905.55
    03/11/13        Trustee Payment Received       SRT                                $248.18                                                                            $1,426.44      $2,718.93   $4,145.37      $0.00      $4,145.37                           7506068
    03/19/13         Debtor Payment Received       SRP   $1,435.01                                                                                                       $2,861.45      $2,718.93   $5,580.38      $0.00      $5,580.38               2/1/2013
    03/19/13             Payment applied           PAP                $1,540.37                    $264.96      $909.53             $365.88                              $1,321.08      $2,718.93   $4,040.01      $0.00      $4,040.01    08/01/12                          $181,640.59
    04/07/13        Trustee Payment Received       SRT                                $248.39                                                                            $1,321.08      $2,967.32   $4,288.40      $0.00      $4,288.40                           7511719
    04/19/13         Debtor Payment Received       SRP   $1,435.01                                                                                                       $2,756.09      $2,967.32   $5,723.41      $0.00      $5,723.41               3/1/2013
    04/19/13             Payment applied           PAP                $1,540.37                    $266.29      $908.20             $365.88                              $1,215.72      $2,967.32   $4,183.04      $0.00      $4,183.04    09/01/12                          $181,374.30
    06/11/13        Trustee Payment Received       SRT                                $247.87                                                                            $1,215.72      $3,215.19   $4,430.91      $0.00      $4,430.91                           7522490




                                                                                                              EXHIBIT D
                                       Case 10-95385-crm                                Doc 67              Filed 02/28/14 Entered 02/28/14 09:34:55                                                           Desc Main
                                                                                                           Document     Page 22 of 23
06/20/13         Debtor Payment Received            SRP   $1,435.01                                                                                    $2,650.73   $3,215.19   $5,865.92   $0.00   $5,865.92               4/1/2013
07/10/13         Trustee Payment Received           SRT                            $994.73                                                             $2,650.73   $4,209.92   $6,860.65   $0.00   $6,860.65                          7527856
07/12/13      Payment Applied From Trustee          PAT                $1,540.37               $267.62   $906.87            $365.88                    $2,650.73   $2,669.55   $5,320.28   $0.00   $5,320.28    10/01/12
07/12/13      Payment Applied From Trustee          PAT                $1,435.01               $268.96   $905.53            $260.52                    $2,650.73   $1,234.54   $3,885.27   $0.00   $3,885.27    11/01/12
07/12/13              Payment applied               PAP                $1,435.01               $270.30   $904.19            $260.52                    $1,215.72   $1,234.54   $2,450.26   $0.00   $2,450.26    12/01/12                        $180,567.42
07/17/13         Debtor Payment Received            SRP   $1,435.01                                                                                    $2,650.73   $1,234.54   $3,885.27   $0.00   $3,885.27               5/1/2013
07/29/13         Debtor Payment Received            SRP   $1,435.01                                                                                    $4,085.74   $1,234.54   $5,320.28   $0.00   $5,320.28               6/1/2013
08/07/13         Trustee Payment Received           SRT                            $348.64                                                             $4,085.74   $1,583.18   $5,668.92   $0.00   $5,668.92                          7532981
08/13/13      Payment Applied From Trustee          PAT                $1,435.01               $271.65   $902.84            $260.52                    $4,085.74    $148.17    $4,233.91   $0.00   $4,233.91    01/01/13
08/13/13              Payment applied               PAP                $1,435.01               $273.01   $901.48            $260.52                    $2,650.73    $148.17    $2,798.90   $0.00   $2,798.90    02/01/13                        $180,022.76
08/13/13              Payment applied               PAP                $1,435.01               $274.38   $900.11            $260.52                    $1,215.72    $148.17    $1,363.89   $0.00   $1,363.89    03/01/13                        $179,748.38
09/12/13         Trustee Payment Received           SRT                            $2,340.79                                                           $1,215.72   $2,488.96   $3,704.68   $0.00   $3,704.68                          7538687
09/17/13      Payment Applied From Trustee          PAT                $1,435.01               $275.75   $898.74            $260.52                    $1,215.72   $1,053.95   $2,269.67   $0.00   $2,269.67    04/01/13
10/09/13         Trustee Payment Received           SRT                            $553.48                                                             $1,215.72   $1,607.43   $2,823.15   $0.00   $2,823.15                          7543797
11/20/13         Debtor Payment Received            SRP   $1,435.01                                                                                    $2,650.73   $1,607.43   $4,258.16   $0.00   $4,258.16               7/1/2013
11/20/13              Payment applied               PAP                $1,435.01               $277.13   $897.36            $260.52                    $1,215.72   $1,607.43   $2,823.15   $0.00   $2,823.15    05/01/13                        $179,195.50
11/26/13         Debtor Payment Received            SRP   $1,435.01                                                                                    $2,650.73   $1,607.43   $4,258.16   $0.00   $4,258.16               8/1/2013
11/26/13              Payment applied               PAP                $1,435.01               $278.51   $895.98            $260.52                    $1,215.72   $1,607.43   $2,823.15   $0.00   $2,823.15    06/01/13                        $178,916.99
12/07/13         Trustee Payment Received           SRT                             $58.87                                                             $1,215.72   $1,666.30   $2,882.02   $0.00   $2,882.02                          7555058
12/07/13         46-BIE-BATCH INSP EXP              SRT                 $12.00                                                                $12.00   $1,215.72   $1,654.30   $2,870.02   $0.00   $2,870.02
12/07/13      Payment Applied From Trustee          PAT                $1,435.01               $279.91   $894.58            $260.52                    $1,215.72    $219.29    $1,435.01   $0.00   $1,435.01    07/01/13
12/18/13        Payment applied to Escrow           SRP                 $158.29                                             $158.29                    $1,057.43    $219.29    $1,276.72   $0.00   $1,276.72                                    $178,637.08



                                                                                                         Monthly payment Debtor need to pay
           Total funds received for post petition         $49,345.88                                       Month            amount
            Total funds applied for post petition         $49,293.45                                     12/1/2010         $1,499.94
             Funds in post petition suspense                $52.43                                        1/1/2011         $1,499.94
              Funds in Pre Petition suspense                $0.00                                         2/1/2011         $1,499.94
              A/c is Contractual next due for              8/1/2013                                       3/1/2011         $1,499.94
                  A/c is post Next due for                 9/1/2013                                       4/1/2011         $1,499.94
                                                                                                          5/1/2011         $1,499.94
                                                                                                          6/1/2011         $1,499.94
                                                                                                          7/1/2011         $1,499.94
                                                                                                          8/1/2011         $1,499.94
                                                                                                          9/1/2011         $1,499.94
                                                                                                         10/1/2011         $1,499.94
                                                                                                         11/1/2011         $1,499.94
                                                                                                         12/1/2011         $1,540.37
                                                                                                          1/1/2012         $1,540.37
                                                                                                          2/1/2012         $1,540.37
                                                                                                          3/1/2012         $1,540.37
                                                                                                          4/1/2012         $1,540.37
                                                                                                          5/1/2012         $1,540.37
                                                                                                          6/1/2012         $1,540.37
                                                                                                          7/1/2012         $1,540.37
                                                                                                          8/1/2012         $1,540.37
                                                                                                          9/1/2012         $1,540.37
                                                                                                         10/1/2012         $1,540.37
                                                                                                         11/1/2012         $1,435.01
                                                                                                         12/1/2012         $1,435.01
                                                                                                          1/1/2013         $1,435.01
                                                                                                          2/1/2013         $1,435.01
                                                                                                          3/1/2013         $1,435.01
                                                                                                          4/1/2013         $1,435.01
                                                                                                          5/1/2013         $1,435.01
                                                                                                          6/1/2013         $1,435.01
                                                                                                          7/1/2013         $1,435.01
                                                                                                          8/1/2013         $1,435.01
                                                                                                          9/1/2013         $1,435.01
                                                                                                         10/1/2013         $1,433.64
                                                                                                         11/1/2013         $1,433.64
                                                                                                         12/1/2013         $1,433.64
                                                                                                          1/1/2014         $1,433.64
Case 10-95385-crm          Doc 67    Filed 02/28/14 Entered 02/28/14 09:34:55                   Desc Main
                                    Document     Page 23 of 23



                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

In re:
                                                           CHAPTER 13
NANCY AUSTIN
    Debtor.                                                CASE NO. 10-95385-crm




                                     CERTIFICATE OF SERVICE

I, S. Andrew Shuping, Jr., certify that I am over the age of 18 and that on the 28th day of February, 2014,
I served a copy of the foregoing Motion for Relief from Stay and Notice of Hearing by first class U.S.
Mail, with adequate postage prepaid on the following persons or entities at the addresses stated:

NANCY AUSTIN
4579 GLENFOREST DRIVE NE
ROSWELL, GA 30075

ERIC CARTER
The Carter Law Firm Group, P.C.
191 Peachtree Street, NE
suite 3300
Atlanta, GA 30303

NANCY J. WHALEY
303 Peachtree Center Avenue
Suite 120
Atlanta, GA 30303


By: /s/ S. Andrew Shuping, Jr.
 S. ANDREW SHUPING, JR.
 Attorney for Movant
 6259 Riverdale Road
 Riverdale, GA 30274
